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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
-------------------------------------------------- x
ELIANA GALAN and CAROLINA                          :   Civil Action No. 18-2603
GUERRERO, on behalf of themselves                  :
and others similarly situated,                     :
                                                   :
                   Plaintiffs,                     :   FLSA COLLECTIVE ACTION and
 - against -                                       :   RULE 23 CLASS ACTION
                                                   :   COMPLAINT
CARLOS SEGARRA; LUZMILA                            :
SEGARRA; JUAN CARLOS                               :
SEGARRA; LUIS CAGUANA;                             :   Jury Trial Demanded
SEGARRA GROUP;                                     :
CHIFLEZ CORP; and COSITAS RICAS :
ECUATORIANAS CORP. d/b/a EL                        :
PEQUENO COFFEE SHOP;                               :
                                                   :
                   Defendants                      :
-------------------------------------------------- x


         Plaintiffs ELIANA GALAN and CAROLINA GUERRERO (“Plaintiffs”), on behalf of

themselves and other similarly situated employees, by and through their attorneys, Law Office of

Mohammed Gangat, file this Complaint against defendants CARLOS SEGARRA; LUZMILA

SEGARRA; JUAN CARLOS SEGARRA; LUIS CAGUANA; SEGARRA GROUP; CHIFLEZ

CORP; and COSITAS RICAS ECUATORIANAS CORP d/b/a EL PEQUENO COFFEE SHOP.

                                      NATURE OF THE ACTION

         1.      Plaintiffs allege that, pursuant to the Fair Labor Standards Act, as amended, 29

U.S.C. §§ 201, et seq. (“FLSA”), they are entitled to recover from the Defendants: (1) unpaid

minimum wage and overtime compensation, (2) liquidated damages on those amounts, (3)

prejudgment and post-judgment interest; and (4) attorneys' fees and costs.

         2.      Plaintiffs further allege that, pursuant to the New York Labor Law “NYLL”, they

are entitled to recover from the Defendants: (1) unpaid minimum wage and overtime

compensation; (2) unpaid “spread of hours: premium for each day they worked in excess of ten
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(10) hours; (3) liquidated damages and civil penalties pursuant to the New York Labor Law and

the New York State Wage Theft Prevention Act; (4) prejudgment and post-judgment interest;

and (5) attorneys' fees and costs.

                                  JURISDICTION AND VENUE

       3.       This Court has subject matter jurisdiction over Plaintiffs’ federal claims pursuant

to the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”), and 28 U.S.C. §§ 1331 and

1337 and 1343 and has supplemental jurisdiction over Plaintiffs’ state law claims pursuant to 28

U.S.C. § 1367(a).

       4.       Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. § 1391

because at least one defendants resides in the district and the conduct making up the basis of the

complaint took place in this judicial district.

                                              PARTIES

       5.       Plaintiffs are both residents of Queens County, New York.

       6.       Defendants Carlos Segarra, Luzmila Segarra, Juan Carlos Segarra and Luis

Caguana (collectively, the “Individual Defendants”) are the co- owners, shareholders, directors,

supervisors, managing agents, and proprietors, the Corporate Defendant, who actively participate

in the day-to-day operations of each the Corporate Defendant and acted intentionally and

maliciously and are employers pursuant to the FLSA, 29 U.S.C. § 203(d) and Regulations

promulgated thereunder, 29 C.F.R. § 791.2, as well as New York Labor Law§ 2 and the

Regulations thereunder, and are jointly and severally liable with the “Corporate Defendants”

listed below.

       7.       Defendant Segarra Group (a “Corporate Defendant”) is an organization that holds

itself out as the developer, manager, and owner of a chain of restaurants. The Segarra Group



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describes itself as a close-knit family run organization that has been in the restaurant business for

over 18 years and operated two restaurants in Jackson Heights, Queens, NY. Those restaurants

are the other two Corporate Defendants.

       8.      Defendant Chiflez Corp (“Corporate Defendant” or “Chiflez”) is a domestic

corporation organized under the laws of the State of New York, with a principal place of

business at 95-02 Roosevelt Ave, Jackson Heights, NY 11372.

       9.      Defendant Cositas Ricas Ecuatorianas Corp. d/b/a El Pequeno Coffee Shop

(“Corporate Defendant” or “El Pequeno”) is a domestic corporation organized under the law of

the State of New York, with a principal place of business at 86-10 Roosevelt Avenue, Jackson

Heights, NY 11372.

       10.     The Individual Defendants exercise control over the terms and conditions of their

employees' employment, in that they have and have had the power to: (i) hire and fire

employees, (ii) determine rates and methods of pay, (iii) determine work schedules, (iv)

supervise and control the work of the employees, and (v) otherwise affect the quality of the

employees' employment.

       11.     The Individual Defendants are present on the premises of the Corporate

Defendants on a consistent basis, and actively supervise the work of the employees, including

Plaintiffs, and mandate that all issues concerning the employees' employment - including hours

worked and pay received - be authorized and approved by them.

       12.     Upon information and belief, at all times relevant to the allegations in this

Complaint, the Corporate Defendants were, and continue to be, an "enterprise engaged in

commerce" within the meaning of the FLSA in that each (i) has and had employees engaged in

commerce or in the production of goods for commerce, or that handle, sell, or otherwise work on



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goods or materials that have been moved in or produced for commerce, and (ii) have and had an

annual gross volume of sales of not less than $500,000.

       13.     Defendants continuously employed plaintiff Eliana Galan in Queens County, New

York to work as a non-exempt employee for Defendants’ restaurant, Chiflez, from February

2015 until on or about December 22, 2016.

       14.       Defendants continuously employed Plaintiff Carolina Guerrero in Queens

County, New York to work as a non-exempt employee for Defendants’ restaurant, El Pequeno,

from in or about July 2017 until in or about February 2017.

       15.     The work performed by Plaintiffs was directly essential to the businesses operated

by Defendants.

       16.     Defendants knowingly and willfully failed to pay Plaintiffs their lawfully earned

wages for each hour of employment in direct contravention of the FLSA and New York Labor

Law’s minimum wage requirements.

       17.     Defendants knowingly and willfully failed to pay Plaintiffs their lawfully earned

overtime compensation in direct contravention of the FLSA and New York Labor Law.

       18.     Defendants knowingly and willfully failed to pay Plaintiffs their lawfully earned

"spread of hours" premium in direct contravention of the New York Labor Law.

       19.     Plaintiffs have satisfied all conditions precedent to the institution of this action, or

such conditions have been waived.

                                   STATEMENT OF FACTS

       20.     Defendants Juan Carlos Segarra, Carlos Segarra and Luzmila Segarra are

consistently present at the Corporate Defendant’s business premises (i.e., the restaurants) and

actively participate in the day-to-day operation of the Corporate Defendants. Not only considered



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the bosses, they at times personally work alongside the employees in the restaurants to directly

supervise and direct the work of the employees, including Plaintiffs, and instruct the employees

on how to perform their jobs and correct them for errors made. All of these defendants must

approve all crucial business decisions, including decisions as to the hours worked by the

employees, the pay the employees are to receive, and whether employees are entitled to a pay

increase and, if so, the amount of the raise.

       21.     Upon information and belief, defendant Luis Caguana is an owner of the

Corporate Defendants, exerts management control and together with the other defendants, is

responsible for setting the terms and conditions of Plaintiffs’ employment.

       22.     Plaintiffs were hired by Defendants purportedly as waitresses.

       23.     In fact, Plaintiffs routinely did tasks having nothing to do with waiting tables,

including spending more than two hours each workday performing duties such as cleaning the

restaurant, selling bakery items at the bakery counter, processing carry-out and delivery orders,

and stocking supplies in various stations throughout the restaurant.

       24.     These tasks were tasks for which Plaintiffs did not customarily receive tips.

       25.     During the course of Plaintiffs’ employment by Defendants, they worked over

forty (40) hours per week.

       26.     Upon being hired plaintiff Eliana Galan was instructed by Defendants to work and

did in fact work a regular schedule consisting of five (5) days a week, Wednesday-Sunday, from

6am-4pm on weekday and 6am-5pm on weekends. For this time period, Defendants agreed to

and did in fact pay Ms. Galan wages of $40 each day.

       27.     On several occasions, Defendants required Ms. Trejos to work, in addition to her

regular schedule, an additional approximately 9 hours, which meant plaintiff’s workday spanned



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almost the entire day—more than 18 hours! On these occasions, Defendants paid Ms. Galan

double the amount they had agreed to and were in fact paying her for a day’s work, i.e., $80 per

day.

       28.     Upon being hired plaintiff Carolina Guerrero was instructed by Defendants to

work and did in fact work two separate positions, one as a bartender, and one as a server/general

laborer.

       29.     Between July 2016 and August 2016, Defendants required Ms. Guerrero to work,

and she did in fact work, for two days as a Bartender, for a 8 hour shift, for which she was paid

$9.50 per hour and for two days as a server/general laborer for a 9.5 hour shift, for a wage of $40

per shift, or $4.21 per hour.

       30.     Between September and December 15, 2016, Defendants required Ms. Guerrero

to work, and she did in fact work, for five days as a Waitress for 9.5 hours per shift, for a wage

of $40 per shift, or $4.21 per hour.

       31.     Between December 15, 2016 until February 1, 2017 Defendants required Ms.

Guerrero to work, and she did in fact work, from 2:45 PM to 1 AM on the weekends for a wage

of $40 per shift, or $4.21 per hour.

       32.     For almost the entire time period between July 2016 and February 2017,

Defendants deducted $5 from Ms. Guerrero’s wages as a cleaning fee.

       33.     Defendants knowingly and willfully operated their business with a policy of not

paying Plaintiffs and other similarly situated employees either the federal or New York State

minimum wage, the FLSA overtime rate (of time and one-half), and the New York State

overtime rate (of time and one-half), in direct violation of the FLSA and New York Labor Law

and the supporting federal and New York State Department of Labor Regulations.



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       34.     Defendants knowingly and willfully operate their business with a policy of not

paying Plaintiffs and other similarly situated employees "spread of hours" premium for each day

that they work a shift in excess of ten (10) hours, in direct violation of the New York Labor

Law and the supporting New York State Department of Labor Regulations.

       35.     At all relevant times, upon information and belief, and during the course of

Plaintiffs’ employment, the Defendants failed to maintain accurate and sufficient time and pay

records.

       36.     Defendants did not furnish Plaintiffs with an accurate statement with every

payment of wages, listing gross wages, deductions and net wages as required by New York

Labor Law § 195.

       37.     Upon information and belief, defendants also failed to keep full and accurate

records of Plaintiffs’ hours and wages in violation of the New York Labor Law §§ 195, 661.

       38.     Defendants never informed Plaintiffs that they intended to take any tip credit as

required by the New York Department of Labor Hospitality Industry Wage Order.

       39.     Defendants failed to display, in a place accessible to employees and in a visually

conspicuous manner, the notices of employee rights to receive the minimum wage and overtime

pay at a rate of one and one-half times their regular rate as required under the New York Labor

Law.

       40.     Defendants failed to display, in a place accessible to employees and in a visually

conspicuous manner a copy of New York Labor Law § 193 regarding the prohibition on illegal

deductions from wages.

                          COLLECTIVE ACTION ALLEGATIONS

       41.     Plaintiffs bring this action individually and as class representatives on behalf of



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themselves and all other current and former non-exempt employees who have been or were

employed by Defendants since May 2, 2015, (the "Collective Action Period"), and who were

compensated: at rates less than the applicable minimum wage for straight time hours and at rates

less than one-half times the applicable minimum wage for all hours worked in excess of forty

(40) hours per workweek (the "Collective Action Members").

        42.     Upon information and belief, the collective action class is so numerous that

joinder of all members is impracticable. Although the precise number of such persons is

unknown, and the facts upon which the calculation of that number are presently within the sole

control of the Defendants, upon information and belief, there are more than forty (40) Collective

Action Members who worked for the Defendants during the Collective Action Period, most of

whom would not be likely to file individual suits because they lack adequate financial resources,

access to attorneys, or knowledge of their claims. Therefore, Plaintiffs submits that this matter

should be certified as a collective action under the FLSA, 29 U.S.C. § 216(b).

        43.     Plaintiffs will fairly and adequately protect the interests of the Collective Action

Members and has retained counsel that is experienced and competent in the fields of employment

law and class action litigation. Plaintiffs have no interests that are contrary to or in conflict

with those members of this collective action.

        44.     This action should be certified as a collective action because the prosecution of

separate actions by individual members of the class would create a risk of either inconsistent or

varying adjudications with respect to individual members of the class, or adjudications with

respect to individual members of the class that would as a practical matter be dispositive of the

interests of the other members not parties to the adjudication, or substantially impair or impede

their ability to protect their interests.



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       45.        A collective action is superior to other available methods for the fair and efficient

adjudication of this controversy, since joinder of all members is impracticable. Furthermore,

inasmuch as the damages suffered by individual Collective Action Members may be relatively

small, the expense and burden of individual litigation make it virtually impossible for the

members of the collective action to individually seek redress for the wrongs done to them. There

will be no difficulty in the management of this action as a collective action.

       46.        Questions of law and fact common to the members of the collective action

predominate over questions that may affect only individual members because Defendants have

acted on grounds generally applicable to all members. Among the common questions of law and

fact common to Plaintiff and other Collective Action Members are:

             a. Whether the Defendants employed Plaintiffs and the Collective Action Members

                  within the meaning of the FLSA;

             b.   Whether the Defendants failed to keep true and accurate time and pay records for

                  all hours worked by Plaintiffs and the Collective Action Members;

             c. What proof of hours worked is sufficient where the employer fails in its duty to

                  maintain time records;

             d. Whether the Defendants failed to pay the Plaintiffs and the Collective Action

                  Members overtime compensation for all hours worked in excess of forty (40)

                  hours per workweek, in violation of the FLSA and the regulations promulgated

                  thereunder;

             e. Whether the Defendants' violations of the FLSA are willful as that term is used

                  within the context of the FLSA; and,

             f. Whether the Defendants are liable for all damages claimed hereunder, including



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               but not limited to compensatory, liquidated and statutory damages, interest,

               attorneys' fees, and costs and disbursements.

       47.     Plaintiffs know of no difficulty that will be encountered in the management of

this litigation that would preclude its maintenance as a collective action.

       48.     Plaintiffs and others similarly situated have been substantially damaged by the

Defendants' wrongful conduct.

                               CLASS ACTION ALLEGATIONS

       49.     Plaintiffs sue on their own behalf and on behalf of a class of persons under Rules

23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure.

       50.     Plaintiffs bring their New York Labor Law claims on behalf of all persons who

were employed by Defendants at any time since May 2, 2012 (the "Class Period") who were

non-exempt employees within the meaning of the New York Labor Law and were

compensated: at rates less than the applicable minimum wage for straight time hours; at rates less

than one-half times the applicable minimum wage for all hours worked in excess of forty (40)

hours per workweek; and without the required "spread of hours" premium, all in violation of

the New York Labor Law (the "Class").

       51.     Upon information and belief, the persons in the Class identified herein are so

numerous that joinder of all members is impracticable. Although the identity and precise number

of such persons is unknown, and the facts upon which the calculation of that number may be

ascertained are presently within the sole control of the Defendants, the Class consists of all non-

managerial current and former employees and, therefore, is so numerous that joinder is

impracticable and most of whom would not be likely to file individual suits because they lack

financial resources, access to attorneys, or knowledge of their claims.



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        52.     The claims of Plaintiffs are typical of the claims of the Class, and a class action is

superior to other available methods for the fair and efficient adjudication of the controversy,

particularly in the context of wage and hour litigation, where individuals lack the financial

resources to vigorously prosecute a lawsuit in federal court against a corporate defendant.

        53.     The Defendants have acted on grounds generally applicable to the Class, thereby

making appropriate final injunctive relief or corresponding declaratory relief with respect to the

Class as a whole.

        54.     Plaintiffs have committed themselves to pursuing this action and have retained

counsel experienced in employment law and class action litigation.

        55.     Plaintiffs will fairly and adequately protect the interests of the NY Class

members. Plaintiffs understand that, as class representatives, they assume a fiduciary

responsibility to the Class and Collective Action Members to represent their interests fairly and

adequately, and that he must consider the interests of the Class and Collective Action Members

just as he would represent and consider his own interests, and that he may not favor his own

interests over those of the Class or Collective Action Members.

        56.     Plaintiffs recognize that any resolution of a class action lawsuit, including any

settlement or dismissal thereof, must be in the best interests of the Class and Collective Action

Members. Plaintiff understands that in order to provide adequate representation, he must remain

informed of litigation developments and he understands that he may be called upon to testify in

depositions and at trial.

        57.     Plaintiffs have the same interests in this matter as all other members of the Class

and Plaintiffs claims are typical of the Class.

        58.     There are questions of law and fact common to the Class which predominate over



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any questions solely affecting the individual members of the Class, including but not limited to:

           a. Whether the Defendants employed Plaintiffs sand the Class members within the

                meaning of the New York Labor Law;

           b. Whether the Defendants failed to keep true and accurate time and pay records for

                all hours worked by Plaintiffs and the Class members;

           c. What proof of hours worked is sufficient where the employer fails in its duty to

                maintain time records;

           d.   Whether the Defendants failed to pay the Plaintiffs and the Class members the

                applicable minimum wage for all straight time hours worked and the required

                overtime compensation for all hours worked in excess of forty (40) hours per

                workweek, in violation of the New York Labor Law and the regulations

                promulgated thereunder;

           e. Whether the Defendants failed to pay the Plaintiffs and the Class members

                "spread of hours" premium for each day they worked a shift in excess of ten (10)

                hours, in violation of the New York Labor Law and the regulations promulgated

                thereunder;

           f. Whether the Defendants' violations of the New York Labor Law are willful as that

                term is used within the context of the New York Labor Law; and,

           g. Whether the Defendants are liable for all damages claimed hereunder, including

                but not limited to compensatory, liquidated and statutory damages, interest, costs,

                attorneys' fees, and costs and disbursements.




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                                   STATEMENT OF CLAIM

                                             COUNT I

                          [Violation of the Fair Labor Standards Act]

        59.    Plaintiffs re-allege and re-aver each and every allegation and statement contained

in paragraphs "l" through "59" of this Complaint as if fully set forth herein.

        60.    At all relevant times, upon information and belief, Defendants were and continue

to be an employer engaged in interstate commerce and/or the production of goods for commerce

within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a). Further, Plaintiff and the

Collective Action Members are covered individuals within the meaning of the FLSA, 29 U.S.C.

§§ 206(a) and 207(a).

        61.    At all relevant times, Defendants employed Plaintiffs and the Collective Action

Members within the meaning of the FLSA.

        62.    Upon information and belief, at all relevant times, Defendants have had gross

revenues in excess of $500,000.

        63.    Plaintiffs and the Collective Action Members were entitled to be paid at the

applicable federal minimum wage for all straight time hours worked.

        64.    Plaintiffs and the Collective Action Members were entitled to be paid at the rate

of time and one-half for all hours worked in excess of the maximum hours provided for in the

FLSA.

        65.    Defendants failed to pay Plaintiffs and the Collective Action Members minimum

wage or overtime compensation in the lawful amount for all hours worked in excess of the

maximum hours provided for in the FLSA.

        66.    At all relevant times, Defendants had, and continue to have a policy and practice



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of refusing to pay minimum wage.

       67.     At all relevant times, Defendants had, and continue to have a policy and practice

of refusing to pay overtime compensation at the statutory rate of time and one­ half to Plaintiffs

and the Collective Action Members for all hours worked in excess of forty (40) hours per work

week, which violated and continues to violate the FLSA, 29 U.S.C. §§ 201, et seq., including 29

U.S.C. §§ 207(a)(l) and 215(a).

       68.     Defendants knowingly and willfully disregarded the provisions of the FLSA as

evidenced by their failure to compensate Plaintiffs and the Collective Action Members at the

minimum wage and the statutory overtime rate of time and one-half for all hours worked in

excess of forty (40) hours per week, when they knew or should have known such was due and

that non-payment of minimum wage and overtime compensation would financially injure

Plaintiff and the Collective Action Members.

       69.     As a result of the Defendants' failure to properly record, report, credit and/or

compensate its employees, including Plaintiffs and the Collective Action Members,

       70.         Defendants have failed to make, keep and preserve records with respect to each

of its employees sufficient to determine the wages, hours and other conditions and practices of

employment in violation of the FLSA, 29 U.S.A. §§ 201, et seq., including 29 U.S.C. §§ 21

l(c) and 215(a).

       71.     Defendants failed to properly disclose or apprise Plaintiffs and the Collective

Action Members of their rights under the FLSA.

       72.     As a direct and proximate result of Defendants' violation of the FLSA, Plaintiffs

and the Collective Action Members are entitled to liquidated damages pursuant to the FLSA.

       73.     Due to the reckless, willful and unlawful acts of the Defendants, Plaintiffs and the



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Collective Action Members suffered damages in an amount not presently ascertainable of unpaid

overtime compensation, an equal amount as liquidated damages, and prejudgment interest

thereon.

       74.     Plaintiffs and the Collective Action Members are entitled to an award of their

reasonable attorneys' fees, costs and expenses, pursuant to 29 U.S.C. § 216(b).

                                            COUNT II

                           [Violation of the New York Labor Law]

       75.     Plaintiffs re-allege and re-aver each and every allegation and statement contained

in paragraphs "l" through "74" of this Complaint as if fully set forth herein.

       76.     Defendants employed Plaintiffs and the Class members within the meaning of

New York Labor Law §§ 2 and 651.

       77.     Defendants knowingly and willfully violated the rights of Plaintiffs and the Class

members by failing to pay Plaintiffs and the Class members the applicable minimum wage for

all straight time hours worked and required overtime compensation at the rate of time and one-

half for each hour worked in excess of forty (40) hours in a workweek.

       78.     Employers are required to pay a "spread of hours" premium of one (1) additional

hour' s pay at the statutory minimum hourly wage rate for each day where the spread of hours in

an employee's workday exceeds ten (10) hours. New York State Department of Labor

Regulations § 146-1.6.

       79.     Defendants knowingly and willfully violated the rights of Plaintiffs and the Class

members by failing to pay "spread of hours" premium to Plaintiffs and the Class members for

each day they worked in excess of ten (I 0) hours pursuant to New York State Department of

Labor Regulations.



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       80.     Defendants failed to properly disclose or apprise Plaintiff and the Class members

of their rights under the New York Labor Law.

       81.     Defendants failed to furnish Plaintiff and the Class members with a statement

with every payment of wages listing gross wages, deductions and net wages, in contravention of

New York Labor Law § 195(3) and New York State Department of Labor Regulations § 146-2.3.

       82.     Defendants failed to keep true and accurate records of hours worked by each

employee covered by an hourly minimum wage rate, the wages paid to all employees, and other

similar information in contravention of New York Labor Law § 661.

       83.     Defendants failed to establish, maintain, and preserve for not less than six (6)

years payroll records showing the hours worked, gross wages, deductions, and net wages for

each employee, in contravention of the New York Labor Law§ 194(4), and New York State

Department of Labor Regulations§ 146-2.1.

       84.     At the time of their hiring, Defendants failed to notify Plaintiffs and the Class

members of their rates of pay and their regularly designated payday, in contravention of New

York Labor Law § 195(1).

       85.     Due to the Defendants' New York Labor Law violations, Plaintiffs and the Class

members are entitled to recover from Defendants the difference between their actual wages and

the amounts that were owed under the New York Labor law. The deficiency accounts for

minimum wage for all straight time hours, overtime compensation for all overtime hours, "spread

of hours" premium, reimbursement any illegal deductions from wages, and reasonable

attorneys' fees, costs and disbursements of this action, pursuant to New York Labor Law §§

663(1), 198.

       86.     Plaintiff and the Class members are also entitled to liquidated damages pursuant



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to New York Labor Law§ 663(1), as well as civil penalties and/or liquidated damages pursuant

to the New York State Wage Theft Prevention Act.

                                     PRAYER FOR RELEIF

WHEREFORE, Plaintiffs, ELIANA GALAN and CAROLINA GUERRERO, on behalf of

themselves and all similarly situated Collective Action Members and Class members,

respectfully request that this Court grant the following relief:

       i.   An award for unpaid minimum wage and unpaid overtime compensation due under

            the FLSA and New York Labor Law;

     ii.    An award of unpaid "spread of hours" premium due under the New York Labor Law;

     iii.   An award for damages arising out of Defendants’ illegal wage deductions and failure

            to reimburse employees for the cost of purchasing and maintaining required work

            uniforms;

     iv.    An award of liquidated damages as a result of Defendants' failure to pay minimum

            wage and overtime compensation pursuant to 29 U.S.C. § 216;

      v.    An award of liquidated damages as a result of Defendants' failure to pay minimum

            wage compensation, overtime compensation and "spread of hours'' premium pursuant

            to the New York Labor Law and the New York State Wage Theft Prevention Act;

     vi.    An award of civil penalties pursuant to the New York State Wage Theft Prevention

            Act;

    vii.    An award of prejudgment and post-judgment interest;

   viii.    An award of costs and expenses associated with this action, together with reasonable

            attorneys' and expert fees; and

     ix.    Such other and further relief as this Court determines to be just and proper.



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                                       JURY DEMAND

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by jury on

all issues.



Dated: New York, New York
       May 2, 2018                           LAW OFFICE OF MOHAMMED GANGAT


                                                       By:   _______________________________
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                                               Attorneys for Plaintiff Eliana Galan and
                                               Carolina Guerrero, and the Proposed FLSA
                                               Collective and Rule 23 Class




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